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                 Exhibit B
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 –––––––––––––––––––––––––––––––––––––– x
                                        :
 UNITED STATES OF AMERICA
                                        :                        S5 22 Cr. 673 (LAK)
             v.
                                        :
 SAMUEL BANKMAN-FRIED,
                                        :
                         Defendant.
                                        :
 –––––––––––––––––––––––––––––––––––––– x


                             DECLARATION OF BARBARA FRIED

Barbara Fried declares pursuant to 28 U.S.C. § 1746 as follows:

            1.   I am over 18 years of age, of sound mind, and otherwise competent to make this

Declaration.

            2.   I am the mother of Samuel Bankman-Fried, the Defendant in the above-captioned

action, who is subject to home detention and living at home with his parents.

            3.   Pursuant to the bail conditions imposed by the Court in its March 28, 2023 order

(the “Order”), I understand that the Defendant is only permitted to use two electronic devices;

namely, a laptop and a phone that recently have been provided to him.

            4.   I further understand that, apart from the limited exceptions set forth in the Order,

the Defendant is otherwise prohibited from using any other cellphones, tablets, computers, video

games (including video game platforms and hardware) that permit chat or voice communication,

or “smart” devices with Internet access (collectively, “Prohibited Electronic Devices”).

            5.   I further understand that the Defendant is prohibited from using the two laptop

computers, the one desktop computer, and the two cellphones that his parents are permitted to

use in the home (the “Parents’ Devices”).

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            6.     Accordingly, pursuant to the terms of the Order, I hereby swear to the following:

                   a. I will not bring Prohibited Electronic Devices into the home.

                   b. I will not share the passwords for any of the Parents’ Devices with the

                       Defendant.

                   c. I will not permit the Defendant to access the Parents’ Devices.

            I declare under penalty of perjury that the foregoing is true and correct.



Dated: Stanford, CA
       April ___, 2023                                            ________________________
                                                                  Barbara Fried




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                                       of th Order I hereby s,\·ear to



                                        r any f the Parents Device ,vi




                                                          and      rrect.
